                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                                 Plaintiff,      )
                                                 )
                v.                               )        No. 09-00188-14-CR-W-NKL
                                                 )
SEAN CHARLES,                                    )
                                                 )
                                 Defendant.      )


                                REPORT AND RECOMMENDATION
                                 CONCERNING PLEA OF GUILTY

        The Defendant appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule 72(j)(26), and 28

U.S.C. § 636 and entered a plea of guilty to Count 22 of the Indictment. I determined that the guilty

plea is knowledgeable and voluntary and that the offense charged is supported by an independent basis

in fact containing each of the essential elements of such offense. A record was made of the proceedings

and a transcript is available. I therefore recommend that the plea of guilty be accepted and that the

Defendant be adjudged guilty and have sentence imposed accordingly.

        Failure to file written objections to this Report and Recommendation within fourteen (14) days

from the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).




                                                            s/ SARAH HAYS
                                                          SARAH HAYS
                                                          United States Magistrate Judge
Dated: June 29, 2010




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